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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

BENJAMIN BIN CHOW,                                  )
                                                    )
                      Plaintiff,                    )
                                                    )
               v.                                   )
                                                    )
CANYON BRIDGE CAPITAL PARTNERS,                     )
LLC, a Cayman Islands Limited Liability             )      C.A. No. 22-00947-JLH-SRF
Company, CANYON BRIDGE CAPITAL                      )
MANAGEMENT, LLC, a Delaware Limited                 )
Liability Company, CANYON BRIDGE                    )
FUND I, LP, a Cayman Islands Limited                )
Partnership, HONG JOHN KAO, HEBER                   )
RAYMOND BINGHAM, and PETER CHIN                     )
KUO,                                                )
                                                    )
                      Defendants.                   )

                                   CERTIFICATE OF SERVICE

       I, Jesse L. Noa, hereby certify that on December 19, 2024 Defendants Canyon Bridge

Capital Partners, LLC, Canyon Bridge Fund I, LP, Hong John Kao, Heber Raymond Bingham,

And Peter Chin Kuo’s Opening Brief In Support Of Motion For Judgment On The Pleadings was

electronically filed with the Clerk of the Court using CM/ECF which sent notification to the

registered attorney(s) of record that the document has been filed.

       I further hereby certify that on December 19, 2024, the above-referenced document was

electronically mailed to the following person(s):

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